Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 1 of 8




                 EXHIBIT N
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 2 of 8
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 3 of 8
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 4 of 8
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 5 of 8
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 6 of 8
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 7 of 8
Case 5:23-cv-05510-NW   Document 79-14   Filed 03/31/25   Page 8 of 8
